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                                                                                       SAN ANTONIO
                                                                                       INTERNATIONAL AIRPORT



CONFIDENTIAL                                                                                         ANSER 0003509
                                          CoSA0001736
                                         CONFIDENTIAL
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               TOP Budget                                                     Airline Gate
                 Journey                                                       Planning


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                                               CoSA0001737
                                              CONFIDENTIAL
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  S/+\ T             Discussion Topics


   • Utilities

   • Contingency

   • West Apron + ($75M)



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                                              CoSA0001760
                                             CONFIDENTIAL
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                                          CoSA0001763
                                         CONFIDENTIAL
  Gate Planning                                    Case 5:24-cv-01085-XR         Document 60-4     Filed 04/08/25        Page 5 of 9
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  Executive Summary
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  GOAL OF THIS EFFORT

                                                                                                                                                                                  ~
  • Develop airline gate allocation for SAT based upon information from airlines/ATR                                                                4
  • Validate demand can be balanced, and facility requirements met across all terminals:
        • Terminal                                                                                                                                       2              87
        • Curbside                                                                                                                                                 85        89

                                                                                                                                          NEW TERMINAL                             88

                                                                                                                                                                                  66
  CONSTANTS FOR ALL OPTIONS
  Terminal
                                                                                                                     -
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  • Assumes that new Terminal is referred to as New Terminal
  • Combined check-in hall capacity is sufficient to meet future demand
  • Existing Terminal A SSCP has sufficient capacity for Terminal A demand in all options                  \
                                                                                                               I

  • Existing Baggage Claim in Terminal A and B have sufficient capacity
                                                                                                           I
  Curbside
  • GTC is needed for opening day in all scenarios
  • Sufficient departures curbside capacity for PAL 2 minimal operational changes for PAL 4
  • Inner and outer curb needed on arrivals to accommodate PAL 4 demand
  • Terminal B curb is constraint for all options




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  Facility Requirements                                                                                                   16

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  GATE COUNTS -as of ATR options received                                                                                                                    ~



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  • American Airlines - 6 gates
                                                                                                                                              4
  • Delta Air Lines - 5 gates
  • Southwest Airlines - 10 gates                                                                                                                  2              87
  • United Airlines- 5 gates (previously 6 gates)                                                                                                                      89
                                                                                                                                                             85
  • Spirit Airlines- 1 gate (previously 0 gates)                                                                                    NEW TERMINAL                             88

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  AIRLINE LOUNGES -as of ATR options received
  • American Airlines - 6,000 SF
                                                                                                               -
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  • Delta Air Lines - 10,000 to 13,000 SF (previously 15,000 SF)
  • United Airlines - 4,000 SF (previously 5,000 SF)
                                                                                                     \
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  CHECK-IN HALL -Airline Terminal Space Requests received                                            I
  American Airlines -                                                                                                                                                                   A10
       • 13 agent positions + 14 kiosks
  • Delta Air Lines
       • 12 agent positions + 8 kiosks
  • Southwest Airlines
       • 18 agent positions + 18 kiosks
  • United Airlines
       • 14 agent positions + 12 kiosks




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  Critical Infrastructure to                                                                                                         17
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  Support Growth                                                                                                                        h    1
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  CURBSIDE                                                                                                                                                                     85        89
                                                                                                                                                      NEW TERMINAL
  • Construct GTC and inner & outer curbsides at arrivals level                                                                                                                                88

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  • GTC is required to handle TNC and shuttle demand. GTC will provide good LoS (Level of Service)
    throughout the peak hour for both PAL 2 and PAL 4 vehicle demand.
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  • Retaining inner and outer curbsides is critical as it provides the most curb frontage, resulting in better LoS.
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  TERMINAL
  • Combined check-in hall capacity is sufficient to meet future demand
  • Existing Terminal A SSCP has sufficient capacity for Terminal A demand in all options
  • Existing Baggage Claim in Terminal A and B have sufficient capacity
  • Relocate FIS to the New Terminal B




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  Final Gating                                                                                                            A
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  Recommendation                                                                                                                          A         13

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  • Pros:                                                                                                     9A
       • No split operations for signatory carriers                                                      ~~   9           )/                                                                ) I \'
       • Provides growth for Term. A carrier                                                                                                                                  \   l
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       • Provide growth for Term. B carriers
  • Cons:
       • Non-signatory domestic OALs may have split operations
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       • Growth challenging for New Terminal carriers                                                                                                              B5

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  TERMINAL PROCESSING I PASSENGER EXPERIENCE                                                                                                                            /\
  • Pros:
            Large club spaces in New Terminal
       • Provide direct access for some gates from potential lounge
       • Meets all requested/programed facility requirements (BHS, SSCP, ticketing, etc.)
                                                                                                                                                                                                                     A1 6
  • Cons:
       • Non-signatory domestic OAL may require additional check-in counters constructed in Terminal B
                                                                                                                                                                                                                    A14

  CURBSIDE
                                                                                                                                                                                                              A10
  • Pros:
       • Terminal B Expansion arrivals curbside operates at LoS B for PAL 2                                                                                                                              A8

       • Terminal A arrivals curbside operates at LoS B for PAL 2
       • Existing Terminal B arrivals curbside operates at LoS C for PAL 2
  • Cons:
       • Terminal B Expansion arrivals curbside operates at LoS D for PAL 4
       • Terminal A arrivals curbside operates at LoS D for PAL 4                                                         •                                             A2




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       • Existing Terminal B arrivals curbside operates at LoS E for PAL 4


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  S/-i-\ T Other Gating Plans Reviewed/Evaluated
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                    TERMINAL B EXPANSION
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